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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                                                   UNITED STATES DISTRICT COURT
                                                                                                 for the
                                                                                  Northern District
                                                                                __________  DistrictofofCalifornia
                                                                                                         __________
 In re DMCA Section 512(h) Subpoena to Google LL&
                                                                                                     )
                                                Plaintiff                                            )
                                                           v.                                        )     Civil Action No.         3:23-mc-80067-TSH
                                                                                                     )
                                                                                                     )
                                              Defendant                                              )

                                 SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                                   OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                              Google LLC, 1600 Ampitheatre Parkway, Mountain View, CA 94043

                                                                               (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: SEE ATTACHMENT A



 Place: Latham & Watkins LLP                                                                                Date and Time:
           505 Montgomery Street, Suite 2000                                                                                  03/24/2023 10:00 am
           San Francisco, California, 94111-6538

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                                                    Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        03/10/2023                               3/13/2023

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                                                                     Signature of Clerk or Deputy Clerk                               Attorney’s signature
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 The name, address, e-mail address, and telephone number of the attorney representing (name of party) MVL Film Finance
LLC                                                                      , who issues or requests this subpoena, are:
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                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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                                      ATTACHMENT A
                 INFORMATION TO BE PRODUCED UNDER SUBPOENA TO GOOGLE LLC


Information sufficient to identify the individual(s) alleged to be responsible for the unauthorized posting of the
then-unreleased dialogue of the motion picture “Ant-Man and the Wasp: Quantumania” to the following
Google locations:
https://docs.google.com/document/d/1Y7adPnjTvgQFVEO6bgnbSDkDGVcfiONrfQJ9gzDMzPw/edit1 and
https://docs.google.com/document/d/1Y7adPnjTvgQFVEO6bgnbSDkDGVcfiONrfQJ9gzDMzPw/ (the
“Google Docs Sites”), including:

          1.          All identifying information for the user(s) (the “Infringing Users”) responsible for posting,
                editing, and/or maintaining the content previously available on the Google Docs Sites, including,
                but not limited to, any information provided when the Google Docs Sites were established, created
                and/or any content on the sites was modified, revised, and/or edited by any Infringing User(s), along
                with any information otherwise identifying any Infringing User(s), including without limitation, the
                name(s), username(s), address(es), telephone number(s), email address(es); any IP address(es) used
                by such user(s); and any account number(s) associated with such user(s) (“Identifying
                Information”).

          2. Any Identifying Information associated with any of the following accounts (“Associated
             Accounts”): (a) each Infringing User’s account(s) with Google; and/or (b) any Google account
             associated with any user who modified, revised, and/or edited any content on the Google Docs Sites
             between December 1, 2022 and February 15, 2023, including any IP address(es) used when any
             Associated Account was established.

          3. A report setting forth any and all revisions made to any content on any of the Google Docs Sites at
             any time between December 1, 2022 and February 15, 2023, including any Identifying Information
             for any user who edited and/or made revisions to any such content, including any IP address(es)
             associated with any such revisions.




1
 This site and the content on it can be accessed via the link:
https://web.archive.org/web/20230121045848/https://docs.google.com/document/d/1Y7adPnjTvgQFVEO6bgn
bSDkDGVcfiONrfQJ9gzDMzPw/edit
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Civil Action No.         3:23-mc-80067-TSH

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
